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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               PAMELA J CAMPBELL
               11673 HINKLEY DR
               CINCINNATI OH 45240



Analysis Date: July 21, 2021                                                                                                                             Final
Property Address: 11673 HINKLEY DRIVE CINCINNATI, OH 45240                                                                             Loan:
                                      Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Sept 2020 to Aug 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Sep 21, 2021:                  Escrow Balance Calculation
 Principal & Interest Pmt:                  836.79                  836.79                   Due Date:                                        Jan 21, 2021
 Escrow Payment:                            352.62                  330.53                   Escrow Balance:                                    (1,720.83)
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                         2,820.96
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                       0.00
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                        $1,100.13
  Total Payment:                            $1,189.41                  $1,167.32


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                               Starting Balance         1,730.54                (2,754.76)
      Sep 2020            352.62        542.75        1,344.00               * Homeowners Policy          739.16                (2,212.01)
      Oct 2020            352.62                                             *                          1,091.78                (2,212.01)
      Nov 2020            352.62        542.75                               *                          1,444.40                (1,669.26)
      Dec 2020            352.62                                             *                          1,797.02                (1,669.26)
      Jan 2021            352.62     1,085.50          1,444.41     1,522.40 * County Tax                 705.23                (2,106.16)
      Jan 2021                         876.00                                * Insurance Refund           705.23                (1,230.16)
      Jan 2021                                                        923.00 * Homeowners Policy          705.23                (2,153.16)
      Feb 2021            352.62        542.75                               *                          1,057.85                (1,610.41)
      Mar 2021            352.62                                             *                          1,410.47                (1,610.41)
      Apr 2021            352.62        705.24                               *                          1,763.09                  (905.17)
      May 2021            352.62        352.62                                                          2,115.71                  (552.55)
      Jun 2021            352.62        352.62                                                          2,468.33                  (199.93)
      Jun 2021                                                      1,520.90 * County Tax               2,468.33                (1,720.83)
      Jul 2021            352.62                      1,442.98               * County Tax               1,377.97                (1,720.83)
      Aug 2021            352.62                                             *                          1,730.59                (1,720.83)
                                                                               Anticipated Transactions 1,730.59                (1,720.83)
      Jul 2021                   2,468.34                                                                                          747.51
      Aug 2021                     352.62                                                                                        1,100.13
                      $4,231.44 $7,821.19           $4,231.39      $3,966.30

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.

                                                                                                                                             Page 1
LastCase
     year, we1:18-bk-10871          Doc from
                anticipated that payments 64 your
                                               Filed  07/26/21
                                                  account             Entered
                                                           would be made  during07/26/21     16:17:54
                                                                                 this period equaling      Desc
                                                                                                      4,231.39.   Main
                                                                                                                Under
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Federal law, your lowest monthly balance should not have exceeded 705.23 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Analysis Date: July 21, 2021                                                                                                                     Final
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Borrower: PAMELA J CAMPBELL                                                                                                        Loan:
                                               Annual Escrow Account Disclosure Statement
                                                      Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

       Date              Anticipated Payments                                                                  Escrow Balance
                         To Escrow From Escrow               Description                                 Anticipated      Required
                                                             Starting Balance                             1,100.13        1,453.80
     Sep 2021              330.53                                                                         1,430.66        1,784.33
     Oct 2021              330.53                                                                         1,761.19        2,114.86
     Nov 2021              330.53                                                                         2,091.72        2,445.39
     Dec 2021              330.53          923.00            Homeowners Policy                            1,499.25        1,852.92
     Jan 2022              330.53        1,522.40            County Tax                                     307.38          661.05
     Feb 2022              330.53                                                                           637.91          991.58
     Mar 2022              330.53                                                                           968.44        1,322.11
     Apr 2022              330.53                                                                         1,298.97        1,652.64
     May 2022              330.53                                                                         1,629.50        1,983.17
     Jun 2022              330.53                                                                         1,960.03        2,313.70
     Jul 2022              330.53        1,520.90            County Tax                                     769.66        1,123.33
     Aug 2022              330.53                                                                         1,100.19        1,453.86
                        $3,966.36       $3,966.30

    (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 661.05. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 661.05 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is 1,100.13. Your starting
     balance (escrow balance required) according to this analysis should be $1,453.80. This means you have a shortage of 353.67.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

     We anticipate the total of your coming year bills to be 3,966.30. We divide that amount by the number of payments expected during
     the coming year to obtain your escrow payment.




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Borrower: PAMELA J CAMPBELL                                                                                             Loan:

     New Escrow Payment Calculation
     Unadjusted Escrow Payment                      330.53
     Surplus Amount:                                  0.00
     Shortage Amount:                                 0.00
     Rounding Adjustment Amount:                      0.00
     Escrow Payment:                               $330.53




    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                CINCINNATI DIVISION

 In Re:                                          Case No. 1:18-bk-10871

 Pamela J. Campbell                              Chapter 13

 Debtor.                                         Judge Beth A. Buchanan

                                CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on July 26, 2021 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on July 26, 2021 addressed to:

          Pamela J. Campbell, Debtor
          11673 Hinkle Drive
          Cincinnati, OH 45240

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor
